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  AD 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means                       gg Original                   o Duplicate Original

                                             UNITED STATES DISTRICT COURT
                                                                               for the
                                                                      District of Columbia

                    In the Matter of the Search of                                )
               (Briefly describe the property to be searched                      )
                or identifo the person by name and address)
                                                                                  )        Case No. 21-SW-8
                                                                                  )
                         WASHINGTON, D.C.                                         )
                          UNDER RULE 41
                                                                                  )

                  WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC                                                                      MEANS
 To:       Any authorized law enforcement            officer

          An application by a federal law enforcement               officer or an attorney for the government            requests the search and seizure
 of the following person or property located in the                                            District of                          Columbia
 (identifY the person or describe the property to be searched and give its location):
   See Attachment A (incorporated           by reference)




          I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
 described above, and that such search will reveal (identifY the person or describe the property to be seized):
   See Attachment B (incorporated by reference)




         YOU ARE COMMANDED             to execute this warrant on or before          February 1, 2021       (not to exceed 14 days)
       ~ in the daytime 6:00 a.m. to 10:00 p.m.     0 at any time in the day or night because good cause has been established.

         Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to       G. Michael Harvey, U.S. Magistrate Judge
                                                                                                             (United States Magistrate Judge)

       o Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
       o for __       days (not to exceed 30)      0 until, the facts justifying,        the later specific date of

                                                                                                                                Digitally signed by G. Michael Harvey
Date and time issued:         01/18/2021                                                                                        Date: 2021 .01.1810:36:23 -05'00'
                               --------------
                                                                                                                     Judge's signature

City and state:     Wash_in~g~to_n~,_D_._C_.                               _                     G. Michael Harvey, U.S. Magistrate Judge
                                                                                                                  Printed name and title
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 AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means (page 2)


                                                                              Return
 Case No.:                                Date and time warrant executed:                   Copy of warrant and inventory left with:
                21- SW-8
                                           If J~~ ?-.. I                I ~5' c) (VC1.            f/(/cJ   CA....-... -<..   f /~ r
                                                                                                                               j'~
 Inventory made in the presence of:

 Inventory of the property taken and name(s) of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:    IV; J'd,v J (

                                                                                       ;/
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                                                UNITED STATES DEPARTMENT           OF JUSTICE
                                                  FEDERAL BUREAU OF INVESTIGATION
                                           Receipt for Property Recei ved/Returned/Released/Seized




         On (date)          _1--/ -'-'-r--'T'--1.J.:....w-=-,"-"-~ -!<>,.,-:)-+I---------
                                                    -",,--C                                          itemJs) l.isted below were:
                                                                                                     [£("Received From
                                                                                                     o   Returned To
                                                                                                     o   Released To
                                                                                                     o   Seized
            II. Itf
   (Name)_-tII""---'-                                                                                                             _

   (Street      Address                                                                                                               _

   (City)         W(f'...["'r'-..z6:__
                                   I
                                                 iJ. (

   Description        of Item(s):          T----------                                                                                    ,
    {) nrC;; J 14,~·c




  Received        BY:A,~~J1-,--.-
                        (Signature)
                                                                 Received   From:
                                       f                                                             (Signature)
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                                      ATTACHMENT A

                                    Property to be searched

       The property     to   be   searched   is                                             ,

WASHINGTON, D.C. (the "PREMISES"), further described as a two-story red brick row house.

The front door is white with a black metal storm door with the numerals   affixed to the white

front door.
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                                                    ATTACHMENT B

                                                    Property to be seized

          1.          The     items   to be     seized   are fruits,    evidence,       information,      contraband,      or

instrumentalities,          in whatever     form and however       stored,   relating     to violations     of 18 U.S.C.

§ 1752(a)(1)-(2) and (b)(I)(A)             (Knowingly     Entering or Remaining         in any Restricted     Building or

Grounds without Lawful Authority while Using or Carrying a Dangerous                            Weapon),      18 U.S.C. §

111 (Assaulting           a Federal       Agent),   18 U.S.C.    § 231 (Civil       Disorders),        18 U.S.C.    § 371

(Conspiracy),         18 U.S.C. § 930 (Possession           of Firearms      and Dangerous        Weapons      in Federal

Facilities),        18 U.S.C.      § 1512 (Obstruction        of Congress),     and 40 U.S.C.             § 5104(e)(2)(D)

(Knowingly          Engaging in Disorderly          Conduct on Capitol Grounds),           as described     in the search

warrant affidavit, including, but not limited to:

               a. Black in color handheld Taser and/or any evidence of possession                       of such a Taser;

               b. Any paperwork, memorabilia,              artwork, or other items taken from the u.s.             Capitol

                      grounds on January 6, 2021;

               c. Clothing         matching    that worn during the offenses            as depicted/described       in the

                      affidavit;

               d. Any records and information               relating   to a conspiracy       to illegally    enter and/or

                      occupy the U.s. Capitol Building on or about January 6, 2021;

               e. Information that constitutes           evidence concerning     the breach and unlawful entry of

                      the United States Capitol, and any conspiracy or plan to do so, on January 6, 2021;

               f.     Information that constitutes evidence concerning the riot and/or civil disorder at the

                      United States Capitol on January 6, 2021;
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   g. Information that constitutes       evidence   concernmg     the assaults   of federal

        officers/agents (including MPD Officer Fanone) and efforts to impede such federal

        officers/agents in the performance of their duties at the United States Capitol on

        January 6, 2021;

   h. Information that constitutes evidence concerning the obstruction of proceedings by

        and before the U.S. Congress at the United States Capitol on January 6, 2021;

   1.   Information that constitutes evidence concerning damage to property at the United

        States Capitol on January 6, 2021;

  j.    Information that constitutes evidence of any conspiracy, planning, or preparation

        to commit those offenses;

  k. Information that constitutes evidence concerning efforts after the fact to conceal

        evidence of those offenses, or to flee prosecution for the same;

  1. Records and information that constitute evidence of use, control, ownership, or

        occupancy of the PREMISES and things therein;

  m. Records and information that constitute evidence of the state of mind of VITALI

        GOSSJANKOWSKI, e.g., intent, absence of mistake, or evidence indicating

        preparation or planning, or knowledge and experience, related to the criminal

        activity under investigation;

  n. Records and information that constitute evidence concerning persons who either (i)

        collaborated, conspired, or assisted (knowingly or unknowingly) the commission

        of the criminal activity under investigation; or (ii) communicated with VITALI
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      GOSSJANKOWSKI            about matters relating to the criminal activity under

      investigation, including records that help reveal their whereabouts; and

   o. Any digital device which is capable of containing and reasonably could contain

      fruits, evidence, information, contraband, or instrumentalities as described in the

      search warrant affidavit and above, hereinafter the "Device(s"). For such devices,

          1.   evidence of who used, owned, or controlled the Device(s) at the time the

               things described in this warrant were created, edited, or deleted, such as

               logs, registry entries, configuration files, saved usemames and passwords,

               documents, browsing history, user profiles, email, email contacts, chat,

               instant messaging logs, photographs, and correspondence;

         11.   evidence of software, or the lack thereof, that would allow others to control

               the Device(s), such as viruses, Trojan horses, and other forms of malicious

               software, as well as evidence of the presence or absence of security software

               designed to detect malicious software;

        111.   evidence of the attachment to the Device( s) of other storage devices or

               similar containers for electronic evidence;

        IV.    evidence of counter-forensic programs (and associated data) that are

               designed to eliminate data from the Device(s);

         v. evidence of the times the Device(s) was used;

        VI.    passwords, encryption keys, and other access devices that may be necessary

               to access the Device(s);
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                     Vll.   documentation and manuals that may be necessary to access the Device(s)

                            or to conduct a forensic examination of the Device(s);

                 Vlll.      records of or information about Internet Protocol addresses used by the

                            Device(s);

                     ix. records of or information about the Device(s)'s Internet activity, including

                            firewall logs, caches, browser history and cookies, "bookmarked" or

                            "favorite" web pages, search terms that the user entered into any Internet

                            search engine, and records of user-typed web addresses.



During the execution of the search of the PREMISES described in Attachment A, law enforcement

personnel are also specifically authorized to obtain from GOSSJANKOWSKI (but not any other

individuals present at the PREMISES at the time of execution of the warrant) the compelled

display of any physical biometric            characteristics   (such as fingerprint/thumbprint,   facial

characteristics, or iris display) necessary to unlock any Device(s) requiring such biometric access

subject to seizure pursuant to this warrant for which law enforcement has reasonable suspicion that

the aforementioned person's physical biometric characteristics will unlock the Device(s), to

include pressing fingers or thumbs against and/or putting a face before the sensor, or any other

security feature requiring biometric recognition of:

               (a)          any of the Device(s) found at the PREMISES,

               (b)          where the Device(s) are limited to those which are capable of containing

                            and reasonably could contain fruits, evidence, information, contraband, or
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                        instrumentalities of the offense(s) as described    III   the search warrant

                        affidavit and warrant attachments,

for the purpose of attempting to unlock the Device( s)' s security features in order to search the

contents as authorized by this warrant.

           While attempting to unlock the device by use of the compelled display of biometric

characteristics pursuant to this warrant, law enforcement is not authorized to demand that the

aforementioned person( s) state or otherwise provide the password or identify the specific biometric

characteristics (including the unique finger( s) or other physical features), that may be used to

unlock or access the Device(s). Nor does the warrant authorize law enforcement to use the fact

that the warrant allows law enforcement to obtain the display of any biometric characteristics to

compel the aforementioned person(s) to state or otherwise provide that information. However, the

voluntary disclosure of such information by the aforementioned person(s) is permitted. To avoid

confusion on that point, if agents in executing the warrant ask any of the aforementioned person( s)

for the password to any Device(s), or to identify which biometric characteristic (including the

unique finger(s) or other physical features) unlocks any Device(s), the agents will not state or

otherwise imply that the warrant requires the person to provide such information, and will make

clear that providing any such information is voluntary and that the person is free to refuse the

request.



       As used above, the terms "records" and "information" includes all forms of creation or

storage, including any form of computer or electronic storage (such as hard disks or other media

that can store data); any handmade form (such as writing); any mechanical form (such as printing
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or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,

videotapes, motion pictures, or photocopies).

        The term "digital devices" includes any electronic system or device capable of storing or

processing data in digital form, including central processing units; desktop computers, laptop

computers, notebooks, and tablet computers; personal digital assistants; wireless communication

devices, such as telephone paging devices, beepers, mobile telephones, and smart phones; digital

cameras; peripheral input/output devices, such as keyboards, printers, scanners, plotters, monitors,

and drives intended for removable media; related communications devices, such as modems,

routers, cables, and connections; storage media, such as hard disk drives, floppy disks, USB flash

drives, memory cards, optical disks, and magnetic tapes used to store digital data (excluding analog

tapes such as VHS); security devices; and any other type of electronic, magnetic, optical,

electrochemical, or other high speed data processing devices performing logical, arithmetic, or

storage functions.
